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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY
____________________________________
JASWINDER SINGH, on behalf of himself :
and all those similarly-situated,          :
                                           :
                       Plaintiff,          :
                                           :         Civ. Action No. 16-3044 (FLW)
v.                                         :
                                           :
UBER TECHNOLOGIES INC.,                    :                    ORDER
                                           :
                       Defendant.          :
____________________________________:

       THIS MATTER having been opened to the Court by Paul C. Lantis, Esq., counsel for

Defendant Uber Technologies Inc. (“Defendant”), on a Motion to dismiss the proceedings and

compel arbitration; it appearing that Plaintiff Jaswinder Singh (“Plaintiff”), through his counsel,

Matthew D. Miller, Esq., opposes the motion; it appearing that the Court having considered the

parties’ submissions in connection with the motions pursuant to Fed. R. Civ. P. 78, for the

reasons set forth in the Opinion filed on even date, and for good cause shown,

       IT IS on this 30th day of January, 2017,

       ORDERED that Defendant’s Motion to dismiss the proceedings and compel arbitration

       is GRANTED; and it is further

       ORDERED that the Complaint be dismissed and this case shall be marked as CLOSED.


                                                                              /s/ Freda L. Wolfson
                                                                                  Freda L. Wolfson
                                                                                U.S. District Judge
